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                                        Case: 1:22−mj−00197
                                        Assigned To : Magistrate Judge Meriweather, Robin M.
                                        Assign. Date : 8/26/2022
                                        Description: Complaint w/ Arrest Warrant
                         STATEMENT OF FACTS

       Leading up to June 28, 2022, a Task Force Officer with the Federal Bureau of
Investigation’s Washington Field Office was acting in an undercover (“UC”) capacity as part of
the Metropolitan Police Department-Federal Bureau of Investigation (“MPD-FBI”) Child
Exploitation Task Force, operating out of a satellite office in Washington, D.C. In that capacity,
the UC monitored several KIK 1 groups which are known to the UC as a place where people meet
and discuss their sexual attraction to children; trade sexually explicit original images and videos
of children; and arrange to meet children for the purpose of sexually abusing them.


       On June 28, 2022, the UC posted messages in the public area of these KIK groups, stating
that he was a dad with a daughter. A KIK user in one of these groups, with the screen
name “ClassyBullD,” (subsequently identified as the defendant, Damien SISCA) began a
private KIK chat with the UC. During the course of the chat, SISCA stated that he was a 50-
year-old male residing in Northern Virginia, and that he was into “younger no limits.” SISCA
stated that he was in the chats looking to “hang w dau & dad.” 2


       The UC informed SISCA that he was the father of a 9-year-old girl, and that he was
actively sexually abusing the child. SISCA responded, “Wow awesome age would you guys
be up for meeting me w her. Can I do a trib to her or see pic.” The UC sent two images of his
purported daughter to SISCA.3 SISCA replied, “Hey thanks for the reply…wow she is so cute
starting to get lots of traction now in KIK. Been here a few years but haven’t met anyone yet.
Yes super duper safe person. I was a fed & also very clean conscious and very very respectful
of marriages, kids, father daughter relationship and not trying to get in any way of those
dynamics-just add to the fun of the family nucleaus’s… I’ve dated 2 women very very serious
that had 2 daughters 21 and 15 & another that had a son 11 and daugh 13… both ended al bc
the bitch girlfriends but not my relationships w the kids bc they were great and really liked
me.”
1
  KIK is an instant messaging mobile application where one can transmit and receive messages,
photos, and videos. Users can communicate privately with other users or in groups.
2
  Your affiant is aware that some KIK users in these groups refer to daughter as ‘dau.’
3
  The images the UC sent to SISCA did not depict a real child.
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        The following is a portion of the chat between SISCA and the UC regarding the UC’s
purported daughter:

SISCA: How much do u think she would be comfortable doing. Dinner movies or more physical.
If no physical bc of age that ok with me. Nice on the apt. wish I still had my condo in Kalorama
I’d invite you guys over all the time for dinner drinks for u and me and sleep overs.

UC: What would you be looking for physically I have certain limits with her but open to hear what
you would want.

SISCA: Jerk now. Just up to ur limits maybe hold her hand when walking or crossing the
street. Light kiss on cheek. Could I do more. Love to rub her feet or put on my lap. Like cute
young feet toes legs.

UC: I am fine with the feet stuff for sure or anything private. Not sure about public holding hands
and public kissing.

SISCA: Oh kissing in private is what I meant like at ur apt. Or we get a hotel suite. Could I pull
my cock out and rub my cock on her arches or would she be interested in jerking me or kissing
my cock.

UC: I am good with her sucking your cock and you rubbing cock on her feet. Just no fucking or
anal with her.

SISCA: Omg love to have oral w her then I could do a foot job and show her how to press her
feet around my cock. I’d grab them and work them on my cock till I cum. Prob be 1 of my best
cums ever. Does she know how to suck cock.

UC: Yes, she jerks and sucks me so she is pretty good at it and is really cool. Totally safe and will
not run her mouth.

SISCA: Omg. How long has she been sucking.

UC: I am very lucky for sure, she has really soft skin and really flat and perky nips. 3 ish or so.

SISCA: Is she really mature at it like licks the shaft or looks up at u mid suck. Sucking since
she was 3 yo. Wow. How old now.

UC: 9

SISCA: OMG. How has she evolved over the years w sucking she must be so good now.

UC: And if 9 is to young for you we can wait till she gets older. Totally up to you. Just not looking
for trouble here. She is really good now.
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SISCA: Did you cum in her mouth at 3 yo. 9 is fine w me. I would go younger if u had younger.

        The UC continued to chat with SISCA on Monday, August 1, 2022. The following is
a portion of that chat:

SISCA: How would she be w me when we first meet. Shy or really friendly and walk up to
me smiling.

UC: So what’s your schedule like, I may get her Wed night but not sure yet and I will have her a
few days next week.

SISCA: Have you had other guys meet her or I’d be the first. I could come over Wed night.

UC: She is not really that shy only done this once and it was with a much older guy that I trusted.
The setup was perfect, made me feel safe and him as well.

SISCA: What would I wanna do… meet at a coffee shop 1st? I’d be nervous once we go to
ur house but up to u. How old was the guy.

UC: 65

SISCA: Omg Ur ok w that old she sucked him off.

UC: Yes, we met at a lunch spot first. I facetimed my daughter once I felt comfortable and had her
pull her shorts off and pull her panties to the side. Then once he saw that we walked to my apt. He
ate her and wanted her to jerk and suck. That’s all he did. Yes I trust older guys more. How old
are you.

SISCA: If we hit it off and she really likes me (most do) could we be a regular and she only
meets me & we hang out on the weekends together? Doesn’t even have to be physical every
time.

UC: I will consider that in time.

SISCA: Omg what a story. I’m 50 very very respectful. I’d love to eat her out.

UC: Cool, that’s all I am looking for, someone trustworthy and cool. I am good with that.

SISCA: Can I see her face feet or her pussy or totally clothed is fine. I’m very educated
respectful of marriages & kids/parent relationships.

         During the course of the chat, SISCA sent the UC images of himself wearing a hat and
a facemask. SISCA sent another live camera image of himself with his face clearly visible, and
stated that his name was Damien. SISCA also provided the UC his personal cellular number.
A law enforcement database check revealed that the number resolved back to Damien Sisca.
SISCA has
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an active Maryland driver’s license and an expired Virginia ID card. The images on the ID
and driver’s license appear to match the live camera image that SISCA sent to the UC.


       On Wednesday, August 3, 2022, SISCA informed the UC that he would not be
available to meet at the agreed-upon time that day (4:00 p.m. EST). SISCA informed the UC that
he still had a strong interest in meeting the UC’s purported daughter, and he suggested meeting at
a later time that evening. The UC informed SISCA that he could meet him on a later
date if he was interested. The UC informed SISCA that he would have access to his purported
daughter toward the end of August.


       The UC continued to communicate with SISCA throughout the month of August. During
the course of these communications, SISCA arranged to meet the UC’s daughter on August
26, 2022, at 1:00pm EST in Washington, DC. SISCA told the UC to tell his daughter that SISCA
was excited to meet her, and he informed the UC that he would buy gifts for the UC's
daughter. SISCA told the UC that he had purchased Halloween-themed glasses as a gift for
the UC’s daughter, and he sent pictures of the glasses to the UC. SISCA asked the UC to
send him more images of his purported daughter, and the UC did so. SISCA responded,
“Omg Jon… seen the 1st but omg that tum tum is 100% gorgeous. U take that for the 65 yr old
man perv …!lol Hopefully she wont see him after we meet…lol Ive only seen 1-2 youngs mid
section& no slits except just on KIK. My adrenaline is already going into 5 speed & its only
Tuesday. Kinda awesome ur in DC bc I lived there 10 yrs and love ur city- I almost went to Fla
last weekend to F a 12 virgin.”

          The following is a portion of the text exchange between SISCA and the UC:

SISCA: Is she just have a great disposition & is totally cool to suck and can I eat her out if all
goes well. If not I’m comfortable waiting till ur comfortable. I’m not pushing anything in this
world… bc it’s all new to me. Does she have pretty feet bc I do have a foot fet thing.

UC: Yes she has really cute feet and she will suck your cock and you can eat her out.

SISCA: Omg I’m going teach her how to do a footjob if cool w you-maybe down the road.

SISCA: So is she super chill kid and will smile a lot..? How will she first react to me when we
go back to out place…? Sorry but this is my first time though I’ve been trying for over a year to
find a cool couple to cuck the hubby or daughter. I’m great w kids 10% all really love me
whether on
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planes chatting w me and their parent. And all my ex gf’s kids really took on to me- just never did
anything w them.

           SISCA also discussed his excitement at meeting the UC’s purported child stating, “Is she
1 & done for a couple of days or we could do more in 1 night.” SISCA stated that he would
be driving from the Herndon/Sterling area in Virginia to meet the UC and his purported daughter
on August 26, 2022. SISCA asked the UC about the availability of parking in the area of
the prearranged meeting location in DC.


           On August 25, 2022, SISCA sent the UC two face pictures of himself, followed by
the message, “This is a good pic to show her of me while we are meeting at the XXXXXX4.”
SISCA then sent an image of an erect penis with the message, “& this if she need proof I’m a nice
guy not a sissy… Lol”. The UC responded, “I will show her that pic for sure” and SISCA replied,
“the coc pic.” SISCA then sent 4 additional images of his penis to the UC.


           On August 25, 2022, SISCA also sent the UC an image of what appears to be a nude
minor female lying on top of a nude adult male. The female has no breast development and a small
frame. The adult male’s penis is inside the mouth of the minor female. SISCA stated that he
received the image on a social media platform but does not remember the girl’s age. SISCA
then sent an additional photo of the same image with a wider frame. The adult male’s penis
can again be seen in the minor female’s mouth.


                                                   CONCLUSION

           Based upon the above information, I respectfully submit there is probable cause to believe

that SISCA attempted to receive child pornography, in violation of Title 18 U.S.C. § 2252(a)(2)

and (b)(1), on or about August 1, 2022; and to coerce and entice a minor, in violation of

Title 18 U.S.C. § 2422(b) on or about and between June 28, 2022 and August 25, 2022. I therefore

respectfully request that the Court issue an arrest warrant for SISCA for these offenses.



4
    Location is known to law enforcement, but it being withheld here to protect the integrity of ongoing investigations.
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                                                 Respectfully submitted,


                                                 ____________________________________
                                                 Timothy Palchak
                                                 Detective (#D2-2560)
                                                 Metropolitan Police Department of D.C.

Sworn and subscribed before me by reliable telephonic means
pursuant to Fed. R. Crim. P. 4.1 this 26th day of August, 2022.




_________________________________
HON. ROBIN M. MERIWEATHER
UNITED STATES MAGISTRATE JUDGE
